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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Criminal No. 22-cr-
Vv. : VIOLATIONS:
JEREMY BERTINO, t 18 U.S.C. § 2384

(Seditious Conspiracy)
Defendant.

18 U.S.C. § 922(g)(1)

(Unlawful Possession of Firearm)

INFORMATION

Count One
The United States Attorney charges that, from in and around December 2020, through in
and around January 2021, in the District of Columbia and elsewhere, the defendant,
JEREMY BERTINO,
did knowingly combine, conspire, confederate, and agree with Ethan Nordean, Joseph Biggs,
Zachary Rehl, Charles Donohoe, Enrique Tarrio, Dominic Pezzola, and other persons known and
unknown, to oppose by force the authority of the Government of the United States and to delay by
force the execution of the laws governing the transfer of power, including the Twelfth Amendment
to the Constitution and Title 3, Section 15 of the United States Code.
(In violation of Title 18, United States Code, Section 2384)
Count Two
: The United States Attorney charges that, on or about March 8, 2022, in Belmont, North
Carolina,

JEREMY BERTINO,
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having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
unlawfully and knowingly receive and possess one or more firearm, that is, a Walther .22 caliber
pistol; a Smith & Wesson 9mm pistol; a Hammerli .22LR tactical rifle with a scope; a .22 bolt
action rifle; a Garaysar 12-gauge shotgun; and a Mossburg .22 AR-15-style firearm with a scope,

which had been possessed, shipped and transported in and affecting interstate and foreign

commerce.

(In violation of Title 18, United States Code, Section 922(g)(1))

Respectfully submitted,

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